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UNITED STATES DISTRICT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Case No. 21-cr-00555-RCL

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Vv.

PAMELA HEMPHILL, Ha e purus 4 HA. Ayoel

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Done Fowrrte, U.F dF,

7 a/are
MOTION FOR LEAVE TO FILE NOTICE OF APPEAL

Defendant.

Comes now, Defendant Pamela A. Hemphill respectfully requests that
permission be granted that Defendant Pamela Anne Hemphill, Pro Se, may e-file her
appeal tothe United States Court of Appeals for the District of Columbia Circuit from
the Judgment and Sentence issued by the United States District Court for the District

of Columbia.

Date: July 11, 2022 Respectfully Submitted,

/s/Pamela Anne Hemphill
Pamela Anne Hemphill,

5148. 12" Street, apt 315
Boise, ID 83702
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CERTIFICATE OF SERVICE
1, Pamela Anne Hemphill, hereby certify that on this day, July 11, 2022, I caused a copy of
the foregoing document to be served on all counsel through the Court’s CM/ECF case filing

system.

/s/ Pamela A. Hemphill
Pamela A. Hemphill
